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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

VICTOR M. ZAMORA, JR., et al.,

      Defendants.                                  Case No. 06-cr-30166-4-DRH


                                    ORDER

HERNDON, Chief Judge:


            Before the Court is defendant Victor M. Zamora, Jr.’s Second Motion

to Continue Sentencing (Doc. 283), seeking further time to review a forthcoming

Addendum to the Presentence Investigation Report and to prepare any necessary

objections thereto. The Motion states that the Government has no objection to such

a continuance.     Therefore, for good cause shown, the Motion (Doc. 283) is

GRANTED. Defendant Zamora, Jr.’s sentencing hearing is CONTINUED to Friday,

January 11, 2008 at 2:30 p.m.

            IT IS SO ORDERED.

            Signed this 19th day of December, 2007.

                                      /s/    DavidRHerndon
                                     Chief Judge
                                     United States District Court
